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                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF IDAHO

                                               ) Case No. 1:22-cv-00236-DCN
UNITED STATES OF AMERICA,
                                               )
                    Plaintiff,                 )
                     V.
                                               ) DECLARATION OF KATHRYN J.
                                               ) CONANT
STATE OF IDAHO; IDAHO DEPARTMENT               )
OF WATER RESOURCES, an agency of the           )
State ofldaho; and GARY SPACKMAN, in his       )
official capacity as Director of the Idaho     )
Department of Water Resources,                 )
                    Defendants,                )
                                               )
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                                             )
                   V.
                                             )
IDAHO HOUSE OF REPRESENTATIVES;              )
MIKE MOYLE, in his official capacity as      )
Majority Leader of the House; IDAHO          )
SENATE; and CHUCK WINDER, in his official~
capacity as President Pro Tempore of the     )
Senate,
                                             )
                      Intervenor-Defendants. )
                                             )




                         DECLARATION OF KATHRYN J. CONANT
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       I, Kathryn J. Conant, in accordance with the requirements of 28 U.S.C. § 1746 declare:

       1.      My name is Kathryn Jeanne Conant, I am an employee of the United States

Department of Agriculture ("USDA"), Forest Service ("Forest Service"). The following

statements are based upon my personal knowledge.

       2.      My present position is that of Lands and Minerals Director for the USDA Forest

Service Intermountain Region. I have served in this position since June 2012.

       3.      In this capacity, my current responsibilities include overseeing all water right

issues for the Forest Service in Central/Southern Idaho, Nevada, Utah, western Wyoming, a

portion of California, and a portion of Colorado. This includes exercising delegated authority for

most water rights actions, as well as overseeing the Forest Service's participation in general

water right adjudications in Idaho, which have included the Snake River Basin Adjudication

("SRBA") and the Bear River Basin Adjudication.

       4.      Signatory authority for most water rights actions has been delegated to the Lands

and Minerals Director as defined in the Regional Manual Supplement (see FSM 2500-2007-1).

Also delegated to the Director is the responsibility to retain and maintain original permanent

water rights files for the Intermountain Region.

       5.      I provide direction, oversight, and decisions as these pertain to our management

of water resources with emphasis on federally owned water rights held for the benefit of the

Forest Service and water uses of others on National Forest System (''NFS") lands. My position

also directs and helps evaluate the regional water rights program, and develops and disseminates

applicable policy, procedures, and protocols for the program. I ensure coordination of program

components with other staff groups, external organizations, other Federal, State, and local



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agencies, and the USDA Office of the General Counsel. I am also responsible for the study of

new or modified legislative or regulatory requirements and agency objectives and for

formulating policies and approaches for managing the watershed rights in the Intermountain

Region.

       6.      I work closely with representatives from Federal, State, and municipal

organizations, non-government organizations, and private industries to develop long term

management solutions for water rights within the Intermountain Region. I have developed and

revised national procedures, technical standards, and guidelines for water rights and water uses.

I review proposed and revised national policy directives, provide constructive input, and ensure

consistency with regional programs and objectives. I also serve as a regional consultant and I

work closely with our USDA Office of the General Counsel, Forest Supervisors, and program

specialists in providing advice and interpretation on complex problems relating to the resolution

and negotiation of water rights and instream flow issues for National Forests, NFS lands, and

adjacent State and private forest lands. I oversee programs to secure Forest Service water rights

and to prevent inappropriate water uses or claims by others that could have adverse impacts on

water resources on the National Forests. In addition, I provide direction and guidance in the

development and implementation of a water rights management strategy. Components of such a

strategy may include legal, regulatory, legislative, and programmatic approaches.

       7.      I have been employed by the Federal government since 1995, and with the Forest

Service since 2003. My federal career includes service in the following positions:

       a.      Almost five years as a biologist for the U.S. Army Corps of Engineers, out of the

               Baltimore District. During my tenure, I worked on water resource management

               projects within the Potomac and Susquehanna River Basins.



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       b.        Almost four years as a biologist working for National Marine Fisheries Service

                 within National Oceanic and Atmospheric Administration primarily focused on

                 Federal Energy Regulatory Commission's hydropower licensing program.

       c.        Nine years with the U.S. Forest Service, managing the national Forest Legacy

                 Program within State and Private Forestry.

       d.        Ten years in my current role as Lands and Minerals Regional Director for the

                 Forest Service.

       8.        The United States holds approximately 9,000 decreed stockwater rights on NFS

lands in the State of Idaho; the Forest Service administers such rights located on grazing

allotments on NFS lands in order to benefit the grazing program and for use by grazing

permittees, and in some instances to benefit wildlife. Forest Service administration of these

stockwater rights has the important benefit of allowing efficient use of water resources by

multiple or successive grazing permittees on the same allotment. It also prevents one permittee

from excluding one or multiple other permittees' use on the same allotment, and from

transferring a water right away from an allotment onto other land, hindering water use on an

allotment by multiple and successive permittees and by wildlife.

       9.        In my capacity as Intermountain Region Lands and Minerals Director, I

participated in and observed the later phases of the SRBA. The SRBA was commenced in 1987;

the Court issued a Final Unified Decree in 2014. The SRBA encompassed 87% of the State of

Idaho. Four smaller adjudications are currently active in the remainder of the State for the Coeur

d'Alene-Spokane River, the Palouse River, the Bear River, and the Clark Fork-Pend Oreille

River systems.




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        10.    The Forest Service established a team known as the Boise Adjudication Team in

1993, extending across multiple offices and programs, to defend existing licensed and statutory

water rights obtained under state law, and to prepare constitutional claims 1 for all water use

occurring on NFS lands, including stockwater. This Team served both the Intermountain Region

and Northern Region of the Forest Service through 2014.

        11 .   After commencement of the SRBA, the SRBA Court issued an order establishing

procedures for the adjudication of small domestic and stockwater claims.

       a.      The Forest Service filed thousands of stockwater claims for the benefit of the

               grazing program and for use by grazing permittees.

       b.      This action was communicated to grazing permit holders, many of whom

               communicated thanks that the Forest Service was working to secure stockwater

               rights for use on allotments.

       c.      Most permittees chose not to file their own stockwater claims in situations where

               the Forest Service had filed claims for use on those allotments.

       d.      Of approximately 1,020 grazing permit holders on NFS lands within the SRBA,

               only 20 filed competing claims. Those contested cases were resolved in 2002 in a

               stipulated settlement where both the Forest Service and the permittees received

               decrees for the stockwater use.

        12.    In 2014, the SRBA Final Unified Decree was signed and included nearly 9,000

stockwater rights decreed to the USDA Forest Service. Over half of the water sources for those

decreed rights have been developed by the Forest Service, with significant investments in




1
 "Constitutional rights" were created by putting water to beneficial use without obtaining a prior
permit or license from the Idaho Department of Water Resources ("IDWR").
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troughs, pipes, tanks, wells, and other infrastructure. The Forest Service likely would not have

made such investments without being able to rely on the certainty afforded by holding these

decreed water rights.

        13.     The certainty and finality of the SRBA Final Unified Decree allowed the Forest

Service to manage its Range Management Program on NFS lands, providing access to

stockwater resources for the benefit of permittees.

        14.     Beginning in 2017, the Idaho Legislature made a series of changes to Idaho water

statutes related to forfeiture of federally held water rights that put at risk the Forest Service's

decreed and other stockwater rights and that have significant impacts on the Forest Services'

ability to manage the federal grazing program on National Forest System lands.

        15.     Pursuant to these new Idaho laws, on June 22, 2022, the Director ofIDWR issued

an order to the Forest Service to show cause ("Order to Show Cause") why 11 stockwater rights

held by the United States on behalf of the Forest Service should not be forfeited.

        a.      The Order to Show Cause was based on a petition filed by Jaycob J. and

                Sheyenne A. Smith, the sole grazing permit holder on the Fourth of July Creek

                No. 702 13 Allotment on the Salmon-Challis National Forest. The petition sought

                to forfeit water rights held by the United States located on that allotment.

       b.       Of the 11 stockwater rights subject to the Order to Show Cause, seven were

                decreed by the SRBA Court to the United States on behalf of the Forest Service

                (75-11102, 75-13808, 75-13813, 75-1 3822, 75-13826, 75-13899, and 75-13912),

                three were licensed to the United States pursuant to Idaho law by IDWR (75-

                7279, 75-7288, and 75-7335), and one was the subject of a statutory claim

                qualifying for the SRBA de minimis stockwater claims deferral option (75-4241).



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       Pursuant to the provisions of 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct to the best of my knowledge, information, and belief.



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Dated: October 7, 2022
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                                             Kathryn Jeanne Co ant
                                             Land and Minerals Director
                                             U.S. Forest Service
                                             Intermountain Region




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